Unclaimed Funds Report                                                               Page 1 of 2
     Case 20-10533 Doc 55          Filed 03/10/21 Entered 03/10/21 09:56:16     Desc Main
                                     Document     Page 1 of 2



                                   Unclaimed Funds
                                 Entered 3/10/2021 to 3/10/2021

            Case No./
                              Creditor                       Amount       Entered
            Cred No.

            15-13966 -fjb     STELLA TUCKER                    726.50     03/10/2021
            20586493          165 GREEN ST
                              MELROSE, MA 02176
                              02176

            15-15044 -msh     Platinum Vinyl Company, LLC      254.12     03/10/2021
            19656893          595 Trabold Road
                              Rochester, NY 14624

            16-10079 -msh     CACV                                79.37   03/10/2021
            19662279          4340 S. MONACO ST.
                              Denver, CO 80210
                              80210

            16-10284 -msh     Liberty Utilites                    17.41   03/10/2021
            19703513          36 Fifth Street
                              Fall River, MA 02721
                              02721

            17-12559 -fjb     FRANK BARBOSA                       17.63   03/10/2021
            20586494          42 EVERETT ST
                              MEDFORD, MA 01255
                              01255

            17-13124 -msh     EVERETT & TINA MARQUES              20.00   03/10/2021
            20586495          10 BANNER AVE
                              WESTPORT, MA 02790
                              02790

            19-13305 -msh     MICHAEL DRISCOLL                     8.70   03/10/2021
            20586496          22 DEXTER RD
                              FOXBORO, MA 02035
                              02035

            19-14218 -fjb     HELEN HENRY                          6.64   03/10/2021
            20586497          96 ST MARKS RD
                              DORCHESTER, MA 02124
                              02124




https://ecf.mab.uscourts.gov/cgi-bin/UnclaimedReport.pl                                3/10/2021
Unclaimed Funds Report                                                             Page 2 of 2
     Case 20-10533 Doc 55          Filed 03/10/21 Entered 03/10/21 09:56:16   Desc Main
                                     Document     Page 2 of 2

            20-10533 -jeb     JENNIFER THOMAS                5,128.19   03/10/2021
            20586498          141 TIMBERLANE DR
                              MASHPEE, MA 02649
                              02649



                                                             Grand Total: 6,258.56




https://ecf.mab.uscourts.gov/cgi-bin/UnclaimedReport.pl                              3/10/2021
